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January 17, 2019

VIA ECF FILING AND FEDEX

The Honorable Michael A Shipp

U.S. District Judge for the District of New Jersey
Fischer Fed, Bldg. & U.S. Courthouse

402 East State Street

Trento, New jersey 08608

Re: PB Group LLC v Sun Life Assurance Company of Canada, 3:18-cv-15051-MAS-
TJB (D.N.J)

Honorable Judge Shipp:

We represent the Plaintiff, PB Group LLC (“PB Group”) in above referenced action (the
“Action”). PB Group respectfully requests that your honor enter an Order granting an extension
until February 15, 2019 for PB Group to respond to Defendants Counterclaims. A proposed order
agreed and stipulated by the parties is enclosed with this correspondence.

History of this Action

On October 17, 2018, PB Group, LLC (PB Group) filed its Complaint and on October 26, 2018
provided Sun Life with a Waiver of the Service of Summons and a copy of the Complaint. On
October 31, 2018, Sun Life Assurance Company of Canada (“Sun Life’) agreed to waive service
and executed the Waiver of the Service of Summons. Sun Life’s response to PB Group’s
Complaint was therefore due on December 26, 2018. On December 26, 2018 the parties agreed
and stipulated, subject to the approval of the Court, that Sun Life’s time to answer or otherwise
respond to the Complaint be extended to January 2, 2019. The Court so ordered the stipulation
extending the time for Sun Life’s response to January 2, 2019. On January 2, Sunlife filed its
Answer to the Complaint, asserted affirmative defenses and brought Counterclaims against PB
Group. PB Groups time to answer the counterclaims or otherwise respond to the Counterclaims
is due on January 22, 2019. On January 16, 2019, the parties agreed and stipulated, subject to the
approval of the Court that PB Group’s time to answer or otherwise respond to the Counterclaims
be extended to February 15, 2019. To the extent PB Group responds to the Complaint with a
motion, the parties have agreed to cooperate and agree to a briefing schedule that is mutually
convenient to counsel for Sun Life and PB Group.

A copy of this correspondence has been served on all counsel of record by ECF filing.
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LIPSTUS-BENHAIM LAW, LLP

Respectfully Submitted,

LIPSIUS-BENHAIM LAW, LLP

David BenHaim
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

PB GROUP LLC,
Plaintiff, Docket No. 8:18-cv-15051

SUN LIFE ASSURANCE
COMPANY OF CANADA,

Defendant.

 

STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR PB GROUP, LLC
TO RESPOND TO THE COUNTERCLAIMS OF SUN LIFE ASSURANCE COMPANY OF
CANADA

WHEREAS, on October 17, 2018, PB Group, LLC (“PB Group”) filed its Complaint in
the above- captioned matter;

WHEREAS, on October 26, 2018, PB Group provided Sun Life Assurance Company of
Canada’s (“Sun Life”) with a Waiver of the Service of Summons and a copy of the Complaint;

WHEREAS, on October 31, 2016, Sun Life agreed to waive service and executed the
Waiver of the Service of Summons; and

WHEREAS, Sun Life’s response to PB Group’s Complaint was due on December 26,
2018;

WHEREAS, Sun Life filed a Stipulation and Proposed Order for an order to extend time
to answer or otherwise respond to the Complaint and assert any affirmative defenses to January
2, 2019 and to the extent Sun Life responds to the Complaint with a motion, the parties would
cooperate and agree to a briefing schedule ;

WHEREAS, the stipulation and order was So Ordered by the Court;
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WHEREAS, Sun Life filed an Answer with Affirmative Defenses and Counterclaims on

January 2, 2019;

WHEREAS, PB Group’s response to the Counterclaims is currently due on January 22,

2019;

NOW THEREFORE IT IS STIPULATED AND AGREED, by the parties hereto, through

their undersigned counsel, subject to the approval of the Court, that Sun Life responds to the

Counterclaims and assert any affirmative defenses is hereby extended to February 15, 2019 and to

the extent PB Group responds to the Counterclaims with a motion, the parties will cooperate and

agree to a briefing schedule that is mutually convenient to counsel for PB Group and Sun Life

Dated: January 16, 2019

isi David BenHaim
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Canada
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SO ORDERED this day of 2019

 
